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                                      /s/ Claude Kamgna
                                      Claude Kamgna
                                      email:ckamgna@rascrane.com




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